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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, JARRETT
 LOFTON, REV. CLEE EARNEST LOWE, DR.
 ALICE WASHINGTON, STEVEN HARRIS,
 ALEXIS CALHOUN, BLACK VOTERS
 MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,                                Civil Action No. 3:22-cv-00178
                                Plaintiffs,              SDD-SDJ

 v.
 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana,
                                Defendant.


           EX PARTE MOTION FOR LEAVE TO PARTICIPATE REMOTELY

        Pursuant to this Court’s Order at ECF No. 238, Plaintiffs’ lead counsel intends to

participate in person in the February 21, 2024 scheduling conference in this action, but additional

counsel for Plaintiffs seek leave to participate remotely. Plaintiffs respectfully submit that some

counsel’s participation by telephone will not delay the proceedings or inhibit Plaintiffs’ full

participation in this matter.

        WHEREFORE, for the foregoing reasons, Plaintiffs respectfully seek leave for the

members of Plaintiffs’ counsel team who are not attending the February 21, 2024 scheduling

conference in person to participate by telephone.


Date: February 19, 2024                             Respectfully submitted,


                                                    /s/ Megan C. Keenan               .
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